         Case 1:21-cv-10388-PBS Document 19 Filed 04/19/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 ADMIRAL INSURANCE COMPANY,                           Civ. No. 1:21-cv-10388-PBS

                Plaintiff,
        v.

 TOCCI BUILDING CORPORATION, et al.
                                                      April 19, 2021
               Defendants.


 DEFENDANTS’ MOTION TO DISMISS THE COMPLAINT IN ITS ENTIRETY, OR, IN
              THE ALTERNATIVE, TO STAY THIS ACTION

       The defendants, Tocci Building Corporation, Tocci Residential, LLC, and John L.

Tocci, Sr. (together, “Defendants”) respectfully move this Court, pursuant to Fed. R. Civ.

P. 12(b)(7), to dismiss, or, in the alternative, to stay this matter until final resolution of the

declaratory judgment action pending in the Superior Court of the State of New Jersey,

Middlesex County, captioned Tocci Building Corporation, et al., v. Admiral Insurance

Company, et al., Docket No. MID-L-001500-21. In support of this Motion, Defendants rely

on the Memorandum of Law and accompanying exhibits filed together herewith.

                                                    Respectfully submitted,

                                                    _/s/ Jeffrey J. Vita_______________
                                                    Jeffrey J. Vita (BBO #675191)
                                                    jvita@sdvlaw.com
                                                    Kerianne E. Kane (BBO #693386)
                                                    kkane@sdvlaw.com
                                                    Saxe Doernberger & Vita, P.C.
                                                    35 Nutmeg Drive, Suite 140
                                                    Trumbull, CT 06611
                                                    Tel: 203-287-2100
                                                    Fax: 203-287-8847
                                                    Counsel for Tocci Building
                                                    Corporation, Tocci Residential, LLC
                                                    and John L. Tocci, Sr.

                                                1
         Case 1:21-cv-10388-PBS Document 19 Filed 04/19/21 Page 2 of 2




                           LOCAL RULE 7.1 CERTIFICATION
       Pursuant to Local Rule 7.1(a)(2), I hereby certify that counsel for Tocci Building
Corporation, Tocci Residential, LLC and John L. Tocci, Sr. conferred in good faith with
counsel for Admiral Insurance Company on April 19, 2021. The parties were unable to
resolve the dispute.


                                                  /s/ Keriane E. Kane______________
                                                  Kerianne E. Kane




                               CERTIFICATE OF SERVICE

        I hereby certify that on April 19, 2021, this document, filed through the ECF system,
will be sent electronically to the registered participants as identified on the Court’s Notice
of Electronic Filing and paper copies will be sent to those indicated as non-registered
participants.


                                                  _/s/ Jeffrey J. Vita__________________
                                                  Jeffrey J. Vita




                                              2
